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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                  )   CASE NO.1:05CR346-002
                                           )
      Plaintiff,                           )   JUDGE CHRISTOPHER A. BOYKO
                                           )
              v.                           )
                                           )
DARYL BOGGS,                               )
                                           )
      Defendant.                           )   ORDER


       On November 17, 2005, Defendant entered a plea of guilty to Count 1 of an

Indictment charging a violation of 21 U.S.C. § 846 and 841(a)(1) - Conspiracy to

Possess With Intent to Distribute Cocaine. On December 21, 2005, Defendant was

sentenced to the Bureau of Prisons for a term of 30 months followed by 3 years

Supervised Release. Upon motion of the Government, Count 12 of the Indictment was

dismissed.

      On June 24, 2008, the Court received a Violation Report from Probation Officer

Debbie White. The Violation Report listed the nature of each non-compliance: (1) Law

Violation and Police Contact - The offender was convicted of Resisting Arrest in Niles

Municipal Court on June 10, 2008 under Docket No. 08CRB525A. He was sentenced

to 90 days jail; 60 days suspended; $150.00 fine and court costs. The arrest date was

June 7, 2008. In addition, Howland Police responded to the Boggs’ residence on June
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18, 2008 after the offender attempted suicide by stabbing himself in the chest. Police

used a Taser to bring the offender into compliance so treatment could be administered

to him; (2) Alcohol Use - Mr. Boggs signed an Acknowledgment Form on June 12,

2008 admitting alcohol use prior to the arrest on June 6, 2008. He was also drunk at

the time of the suicide attempt on June 18, 2008.

       Defendant , represented by counsel, appeared before this Court for a Revocation

of Supervised Release hearing. Debbie White, Probation Officer, gave an overview of

the violations listed in the Violation Report.

       Counsel for Defendant stated the Defendant admits to the violations.

       The Government had no objection to any recommendation by Probation Officer

White. Therefore,

       The Court orders Defendant remanded to the custody of the Bureau of Prisons

for Psychiatric Evaluation according to 18 U.S.C. 4244(b).

       FURTHER ORDERED that the Court holds in abeyance the disposition of the

violation hearing until after completion of the report on Defendant’s mental condition and

hearing.

               IT IS SO ORDERED.



                                           s/Christopher A. Boyko
                                           Christopher A. Boyko
                                           U.S. District Court Judge



July 2, 2008
